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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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                         STIPULATION TO VACATE DEFAULTS

       WHEREAS, Plaintiff Gem City Management, Inc. (“Plaintiff”) filed a Complaint (Dkt.

No. 1) on September 14, 2021 bearing the caption set forth above; and

       WHEREAS, the Clerk entered Certificates of Default against defendants CKR Law LLP

(“CKR”) and Jeffrey A. Rinde (“Rinde” and together with CKR, the “CKR Defendants”) on

November 15, 2021 (Dkt. Nos. 29 and 30, the “Certificates of Default”); and

       WHEREAS, Plaintiff has been granted leave to file an Amended Complaint on or before

December 15, 2021; and

       WHEREAS, Plaintiff and the CKR Defendants consent to vacate the Certificates of Default

and extend the time for the CKR Defendants to appear in this action and otherwise to answer,

move or otherwise respond to the operative pleading to January 31, 2022,

       IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the Plaintiff

and for the CKR Defendants as follows:

       1.      The Clerk’s Certificates of Default against the CKR Defendants (Dkt. Nos. 29 and

30) are hereby vacated; and

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       2.      The CKR Defendants’ time to appear in this action and otherwise to answer, move

or otherwise respond to the operative pleading is hereby extended to January 31, 2021.

       3.      Each of the CKR Defendants hereby accept service of the Summonses issued in

this action (Dkt. Nos. 12, 13).

       4.      Other than challenges to service and personal jurisdiction, all defenses available to

the CKR Defendants are reserved.

STIPULATED AND AGREED:

 NEWMAN FERRARA LLP                                  FELICELLO LAW P.C.


 By:                                                   y:_____________________
                                                     By:_____________________
 Jeffrey M. Norton                                       Mi  h l JJames M
                                                         Michael          l
                                                                        Maloney
 Benjamin D. Baker                                   366 Madison Avenue, 3rd Floor
 1250 Broadway, 27th Floor                           New York, NY 10017
 New York, NY 10001                                  Tel. (212) 584-7806
 (212) 619-5400                                      Attorneys for Defendants CKR Law LLP and
 jnorton@nfllp.com                                   Jeffrey A. Rinde
 bbaker@nfllp.com
 Counsel for Plaintiff Gem City Management,
 Inc.


 SO ORDERED:

 Dated: November 29, 2021
                                                     Hon. Ronnie Abrams
                                                     United States District Judge




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